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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

  DESIGN COLLECTION, INC.               CASE NO.
                                        2:21−cv−07901−DSF−JPR
               Plaintiff(s),
        v.                               Order to Show Cause re
  H&M HENNES & MAURITZ L.P., et          Dismissal for Lack of
  al.                                    Prosecution

              Defendant(s).




       Generally, defendants must answer the complaint within 21 days after
     service or 60 days if the defendant is the United States. Fed. R. Civ. P.
     12(a)(1).
        In this case, H&M Hennes & Mauritz L.P. failed to plead or otherwise
     defend within the relevant time. The Court orders plaintiff to show cause in
     writing on or before November 18, 2021 why the claims against the
     non-appearing defendant(s) should not be dismissed for lack of prosecution.
      Failure to respond to this Order may result in sanctions, including dismissal
     for failure to prosecute.

       IT IS SO ORDERED.

  Date: November 4, 2021                     /s/ Dale S. Fischer
                                            Dale S. Fischer
                                            United States District Judge
